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                                                                   DOC #:
UNITED STATES DISTRICT COURT                                       DATE FILED: 10/29/2020
SOUTHERN DISTRICT OF NEW YORK
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IN RE:                                                       :
                                                             : 14-MD-2548 (VEC)
COMMODITY EXCHANGE, INC., GOLD                               : 14-MC-2548 (VEC)
FUTURES AND OPTIONS TRADING                                  :
LITIGATION                                                   :     ORDER
                                                             :
This Document Relates to All Actions                         :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 28, 2020, the parties appeared for a telephone conference;

       IT IS HEREBY ORDERED that for reasons stated at the conference, the February 2014

draft report titled Are Gold Prices Being Fixed? by Rosa M. Abrantes-Metz and Albert D. Metz

and memoranda produced by Plaintiffs’ experts or consultants and sent to counsel are covered by

this Court’s Order on Defendants’ Motion to Compel Production. See Dkt. 377. Plaintiffs must

promptly produce such documents to Defendants.

       IT IS FURTHER ORDERED that for reasons stated at the conference, the parties must

meet and confer to determine what, if any, underlying datasets, computer programs, code, or

other materials Defendants are missing that is preventing them from replicating the charts and

data analyses in the Third Amended Complaint, Dkt. 266. Plaintiffs must promptly produce all

such materials to Defendants.


SO ORDERED.

Date: October 29, 2020                              _________________________________
      New York, NY                                        VALERIE CAPRONI
                                                          United States District Judge
